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     City of Grand Junction and Public Service Company of Colorado, d/b/a Xcel Energy, Petitioners/Cross-Respondents  v.  John Nicola, individually and as the Personal Representative of the Estate of Danielle Nicola, Respondent/Cross-Petitioner No. 23SC932Supreme Court of Colorado, En BancAugust 19, 2024
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 22CA656
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
      GRANTED PETITIONS FOR WRIT OF CERTIORARI
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari GRANTED. Cross-Petition for Writ of
      Certiorari DENIED.
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;[REFRAMED]
      Whether, in reversing dismissal of a survival claim based on
      the statute of limitations, the court of appeals erred in
      concluding that section 13-81-103(1)(b), C.R.S. (2023),
      applies only when a person under a disability (1) had a legal
      representative and (2) died after the expiration of the
      applicable statute of limitations but less than two years
      after the legal representative was appointed and thereby
      instead applying section 13-80- 112, C.R.S. (2023).
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;[REFRAMED]
      Whether the court of appeals erred by concluding that the
      statute of limitations for a personal representative to file
      a survival action under section 13-80-112, C.R.S. (2023), is
      two years from the date of death rather than two years from
      the date of the incident as required under sections
      13-20-101(2) and 13-80-108(1), C.R.S. (2023).
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;DENIED
      AS TO ALL OTHER ISSUES.
    